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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

NICK JAMES GONZALES,
Petitioner,

VS. No. CV 18-00283 KG/KRS

TIMOTHY HATCH and
NEW MEXICO DEPARTMENT OF CORRECTIONS,

Respondents.

JUDGMENT

THIS MATTER having come before the Court under Rule 4 of the Rules Governing
Section 2254 Proceedings on the Petition Under 28 U.S.C. § 2254 For Writ of Habeas Corpus by
a Person in State Custody filed by Petitioner Nick James Gonzales on March 26, 2018 (Doc. 1)
and the Court having entered a memorandum opinion and order dismissing the Petition,

IT IS ORDERED that JUDGMENT is entered against Petitioner and the Petition Under
28 U.S.C. § 2254 For Writ of Habeas Corpus by a Person in State Custody filed by Petitioner
Nick James Gonzales on March 26, 2018 (Doc. 1) and all claims and causes of action are

DISMISSED with prejudice.

    

STATES DIST&4CT JUDGE
